Case 5:17-cv-05541-.]FL Document 1 Filed 12/11/17 Page 1 of 27

HOPKINS & SCHAFKOPF, LLC

ATTORNEYS AT LAW

December ll, 2017

U.S. Distriet Court, ED of PA
Offlce of the Clerk of Court
U.S. Courthouse

601 Market Street, Roorn 2609
Philadelphia, PA 19106

Re: Jay and Juanita Griscom v. Greenbriar Marketing Management Inc., et al

To Whom lt May Concern:

Enclosed please find one (1) original and one (1) copy of Plaintiff’S Civil Action
Cornplaint, along With a CD containing a pdf version of Same and a check in the amount of
$400.00, in regards to the above captioned matter.

Kindly file the original Cornplaint and return a time-stamped copy to the undersigned
along With the Civil Action Summonses.

Sincerely,

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Ci/ary/ Schafkopf, Esa{ ij

ll BALA AVENUE - BALA CYNWYD, PA 19004 ° PHON`E 610-664-5200 Ext. 104 ° FAX 888-283-1334

 

Case 5:17-cv-05541-.]FL Document 1 Filed 12/11/17 Page 2 of 27

JS 44 (Rev. 06."17)

CIVIL COVER SHEET

Thc JS 44 civil cover sheet and the information contained herein neither replace nor Sap lenient the tilin and service of pleadings or other papers as re uired by law, except as
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provided by local rules ofcourt.

This l`orrn, approved by the judicial Con rcncc of the nited States in epteniber 1974, is required for the use of the [erk of Court for the

purpose of initiating the civil docket sheet (SEE iNS;I`RUC'HONS ON NEXTPAGE OF TH!S i"O!iM}

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(b) County of Resr'dencc of Fr`rst Listed Plaintiff
{E.X'CI§[’T'IN U.S. l’[.A/NYH'Y"CASE¢SJ

C)

Sc atkopf Law LLC 11 Bala Ave, Ba
Weisberg i_aw, 7 S. Morton Ave, |V|orton PA 19070 610-690-0801

Al‘torl:cys (Ffrm Nnme. Address, and Te!?)}rane Number)

G%Edg§i'§ipmr;`irl£§ing & |V|anagement lnc and Lawrence Higgins

County of`Residence of First Listed Defendant Lehlgh COL|r‘lfy PA ___M
(r'N U.S. I’FAINTIFFCASES ONLY)

EN LAND CONDEMNATION CASES, USE 'I`HE LOCATION (]F
THE TRACT OF LAND INVOLVED.

G|oucester County NJ

NO'E'E:

Ai‘fomeys (]fKnmvn)
8 Canyd PA 19004 610-664-5200

 

 

 

 

 

   

    
 

 

 
       

Il. BASIS OF JURISDICTION (P[(rce mr "X”J'n Orae Box C)nl'y] III. CITIZENSHiP OF PRINCIPAL PA_RTIES (P.l'ace an "X” in ()ne Boxfar rolaner
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v. ORIGIN (Pl'ace an "X" in

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28 USC 1332

VI. CAUSE OF ACTION

VlI. REQUES'I`ED IN

 

Brief description ofcause:
Defendants breached their contract with Piaintiff to buiid a modular home.

ij CHECK rp TH[S 15 A CLASS ACT}()N DEMAND $ CHECK YES only ifdemarrded in complaint

 

 

 

 

 

COMPLAINT: UNDER RULE 21 F-R-Cv-P~ JURY DEMANI)= 151 ves nNo
VIII. RELATED CASE(S]
lF ANY (See frisirucriwr.r).' mGE DOCKET N UMBER
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IN THE UNI'I`E]) STATES DISTRICT COUR'I`
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMEN'I` TRACK DESIGNATION FORM

Jay and Juanita Grlscom _ CIVIL ACTION
v. .
Greenbrlar lV|arketing & lulanagement |nci
et al 2 NO.

ln accordance with the Civil Justice EXpense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shali, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Managernent Track Designation Forrn specifying the track

to which that defendant believes the case should be assigned
SELECT ONE OF TI-IE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus 4 Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Sociai Security W Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration ~ Cases required to be designated for arbitration under Local Civii Rule 53.2.

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos

(e) Special Management -“ Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court (See_reverse side of this form for a detailed explanation of special
management cases.)

(f) Standard Management m Cases that do not fall into any one of the other tracks.

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12-11-17 Gary Schaf|<opf, Esq P|aintiff
l)ate Attorney-at-Iaw Attorney for
610-664-5200 888-283»1334 _gary@schaf|aw.ccm
Y"éiephune FAX Number E_Maii Address

(Civ. 660) lrs/02

 

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Civit Justice Expense and Delay Reduction Pfan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading

(b) ln all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Managelnent or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officers authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (e) Managcment Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Cornplex litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatmentl See §0.1 of the
first manual Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidencc; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed Within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; conunon disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder':~;1 derivative and stockholders representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Cornplex Litigation and Manual for Complex Litigation
Second, Chapter 33.

 

Case 5:17-cV-0554%NJH|ED §pgqrélse]qislTR|§|:erdc%]Zl/IZIL&/l? Page 5 of 27

FOR 'l`HE EASTERN DISTRICT OF PENNSYLVANIA w DESIGNATION FORM to he used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Addressorplaimim 218 Porches |Vlill Rd Swedesboro NJ 08085
Address DfDefendam: 4440 S Cedarbrook Rd Allentown PA 18103

Place of Accident, incident or Transaction: WOOiWiCh NBW Jer$ey
(Use Reverse Sr`de For Addin'onal Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.CiV.P. 7.i (a)) Yes i:l NCM
Does this case involve multidistrict litigation possibilities? YesE| No§<
RELATED CASE, IF ANY:

Case Number: Judge Datc Terminated:

 

 

Civil cases are deemed related when yes is answered to any of the following questions:

i. ls this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
Yes l:| NJ§|
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

Yesi:l No d
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered ease pending or within one year previously
terminated action in this court? Y€S|:l N°H

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
Yesi:i NGM

 

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A. Fedemt Qucstr‘on€uses: B. Diversr`ty.h¢rr`sdicn'on Cases:

l. El Indemnity Contract, Marine Contraot, and All Other Contracts l. lJ lnsurance Contract and Other Contracts
2. E| FELA 2. 13 Airplane Personallnjury

3. 13 Jones Act-Personallnjury 3. EI Assault,Det`amation

4. 13 Antitrust 4. |Il Marine Personal lnjury

5. El Patent 5. £l Motor Vehicle Personal injury

6. 111 Labor-ManagernentRelations 6. El Other Personallnjury(Please specify)
7. |Zl CivilRights 7. E Products Liability

8. CI Habeas Corpus 8. El Products LiabilityiAsbcstos

9. |Il Securities Act(s) Cases 9. d<Ali other Diversity Cases

lG. IJ Social Security Review Cases (Please speeify) BI`€SCl'l Of CO|'lll”aC’t

ll. lit All other Federal Question Cases
(Please specify)

 

ARBITRATION CERTIFICATION
{Check Appropriate Cafegory)
l, , counsel of record do hereby certify:
fl Pursuant to local Civii Rule 53.2, Section 3(c)(2), that to the best ofmy knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
\;l Reliet` other than monetary damages is soi.lghtl

DATE:

 

 

Artomey-at-Law Attomey I.D.#
NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

1 certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court

except as noted above.

’z;
DA'l`E: _'l__z_M_____ L!LW

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83362
Attorney I.D.#

 

ClV. 609 (5."20l 2)

 

Case 5:17-cv-05541-.]FL Document 1 Filed 12/11/17 Page 6 of 27

WEISBERG LAW
Matthew B. Weisberg
Attorney lD No. 85570
7 South Morton Ave.
Morton, PA ]_9070
(610) 690-0801

Fax: (610) 690-0880
Attorney for Plaintiffs

SCHAFKOPF LAW, LLC
Gary Schafkopf

Attorney ID No. 83362.

11 Bafa Avenue

Bala Cynwyd, PA 19004
Gary@Schaflaw.com

(6]0) 664-5200 Ext. 104
Fax: (888) 283-1334
Attorney for Plaintiffs

IN THE UNITED STATES ]]ISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAY GRISCOM
218 Porches Mili Rd
Swedesboro, N] 08085

and

JUANITA GRISCOM
218 Porches Mill Rd
SWedeSboro, NJ 08085

Plaintiffs,
v.

GREENBRIAR MARKETING &
MANAGEMENT, INC.

4440 S. Cedarbrook Road
Allentown, PA 18 103

and

LAWRENCE HIGGINS
4440 S. Cedarbrook Road
Allentown, PA 18103

Defenda.nts.

CIVIL ACTION

No.

COMPLAINT

JURY OF TWELVE (12) JURORS
DEMANDED

 

CIVIL ACTION COMPLAINT

Plaintiffs lay Griscom and Juanita Griscom (“Plaintiffs”), hereby file this Complaint

against Defendant Greenbriar Marketing & Managernent, Inc. and Defendant Lawrence Higgins,

and, in Support hereof, avers as folloWS:

 

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JURISDICTION
. Venue is proper in the United States District Court for the Eastern District of
Pennsylvania, pursuant to 28 U.S.C. § 1391(b)(1), as at least one (1) Defendant resides,
maintains a principal place of business, and/or does business in the Eastern District of
Pennsylvania.
. lurisdiction of this Honorable Court is based on diversity of citizenship. 28 U.S.C. §
1332., the amount in controversy, exclusive of interest and costs exceeds the sum of
$75,000.00

PARTIES
. Plaintiffs J ay Griscoin and Juanita Griscom are individuals and husband and Wife
residing at 218 Porches Mill Rd Swedesboro, NJ 08085.
. Greenbriar Marketing & Managernent, Inc. (“Greenbriar”), is a corporation duly
organized under the laws of the Cornmonwealth of Pennsylvania, doing business at the
above-captioned address
. Upon information and belief, Lawrence Higgins (“Higgins”) is the President of
Defendant Greenbriar Marketing & Managernent, lnc., doing business at the above-

captioned address.

OPERA’I`IVE FACTS
. In 2016 Plaintiffs made the decision to sell their home in Woolwich Township NcW
Jersey and purchase a modular horne.
. At all times relevant Defendant Greenbriar Marketing & Managernent, lnc. is a seller of
modular homes, and Defendant LaWrence Higgins is President of Greenbriar Marketing

& Management, lnc. (hereafter collectively “Defendants”).

 

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Defendant Lawrence Higgins has worked in the residential sales industry for at least two
decades, and at times has acted as owner and President of multiple home sales
corporations

Given Defendant Higgin’s long-established reputation in the residential sales industry,
Plaintiffs’ entered into an agreement With Defendant, Greenbriar and Defendant Higgins
regarding he purchase, construction, and delivery of their modular home.

Based on Defendants’ representations and relationship, Plaintit`fs elected to forgo
consideration of a similar modular home company competitor.

In October 2016 Plaintiffs’ entered into an agreement of sale to sell their home in
Woolwich New Jersey.

The buyers of the home agreed to delay the settlement date until May l, 2017, to allow
Plaintiffs time have Defendants manufacture and deliver the modular home to Plaintiffs’.
At all times relevant, Defendants held themselves out as builders lawfully permitted to
engage in the Sales, delivery, and/or construction of new homes in New Jersey.

Prior to executing a contract, Defendants Were aware that Plaintiffs’ would be selling
their primary residence and Would need to have the modular home completed before the
Plaintiffs’ were required to leave the property

Prior to signing a contract, Defendants assured Plaintiffs that the new home Would be
manufactured and delivered in advance of Plaintiffs’ move-out from their home in
Woolwich, New Jersey.

On, or about, December 29, 2016, Plaintiffs entered into a contract With Defendant

Greenbriar Marketing & Management, Inc. (“Agreement”). EXHIBIT A

 

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Dei`endants advised Plaintiffs’ that building plans would be delivered within two weeks
from the date that Plaintiffs’ signed the contract and Plaintiffs’ provided Defendants a
deposit in order to allow the land engineer to begin all necessary work.

Relying on assurance from Defendants, that the building plans would be delivered in two
weeks Plaintiffs contracted with third-parties for land survey, topography, and septic
percolation tests at Plaintiffs expense.

Defendants knew, at all times relevant, that installation of a modular home would require
Plaintiffs’ to obtain services for land survey, topography, and septic testing.

Relying on assurance from Defendants, Plaintiffs remitted deposits to their land engineer
and their septic engineer.

Per Agreement, the total price of $139,408.08 included the costs of base price unit, set-
up, optional equipment, sales tax, and various non-taxable items.

Per the Agreernent, Plaintiffs were responsible for payment of remaining balance, minus
all deposits, UPON COMPLETED PRODUCTION AT FACTORY.

Per the Agreement, an options allowance of $17,300.00 was provided by Defendants to
Plaintiffs.

Per the Agreement, the salesperson responsible for Agreement was Defendant Lawrence
Higgins.

Per the Agreement, delivery of the modular horne to Woolwich Township, NJ Was
scheduled for mid~March 2017.

Upon information and beliet`, the modular home was to be manufactured by Eagle River

Homes, Inc. of Leola, Pennsylvania.

 

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Defendants obligations included, but were not limited to, the contracting for the
manufacturing of the modular horne, obtaining all necessary permits and the installation
of a modular home to a predetermined site in Woolwich 'l`ownship, NJ.

Plaintiffs paid to Defendants a down payment/deposit of the sum of TWENTY-EIGHT
THOUSAND DOLLARS 00/100 ($28,000.00) via check, pursuant to the Agreement to
begin production EXHIBIT B

Plaintiffs were advised by the Defendants that the $28,000.00 would be for the cost of the
initial materials required to begin manufacturing the home.

On, Or about, January 1, 2017, Defendants cashed or deposited the check for $28,000.00.
Plaintiffs’ believed that after providing Defendants with the aforesaid deposit would
allow production to begin and were never advised that production on the modular horne
could not begin until all the land permits, septic permits and building permits were
secured by the Defendants.

Defendants failed to send plans to land engineer by January 31, 2017 to begin the process
of obtaining the necessary permits.

Over the course of several weeks Defendants presented Plaintiffs’ variations of the
building plans which included incorrect materials and lay out issue.

Defendants presented a plante Plaintiffs, on, or about, Febmary 16, 2017, that exhibited
an attic ladder as opening onto a counter top.

Defendants presented a plan to Plaintiffs, on, or about, February 23, 2017, that exhibited
windows different from the originally chosen design.

Defendants presented unsealed factory plans to Plaintiffs on, or about, March 3 l , 2017,

that incorrectly exhibited the front elevation

 

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As of March 31, 2017, Defendants had failed to precure acceptable buildings plans,
permits and failed to deliver the completed home as agreed.

Plaintiffs submitted the incorrectly~drawn plans to land engineer on, or about, March 31’
2017, so to avoid further delay in construction

Plaintiffs’ also hired a third-party architect to design the basement and foundation plans.
On or about May 22, 2017 Plaintiffs received approval from the Gloucester County
Health Departrnent to begin work on the septic system.

In order to begin construction on the actual horne Defendants needed to obtain a building
permit

Defendants failed to procure the necessary building permits and never began production
on the modular home.

Plaintiffs’ were unable to move into their new home at the agreed to date of mid~March
2017, as Defendant had failed to secure the necessary permits and did not begin to
manufacture the home.

On, or about, l\/[ay 12, 2017, a confirmation order was executed by Plaintiffs’ and
Defendant Greenbriar regarding new flooring and countertops as Defendant, Higgins
advised Plaintiffs’ their previous material selections were not available.

On or about May 26, 2017 Plaintiffs emailed Defendant Greenbriar stating that they
would not be moving forward with the project and that they had lost all confidence in
Defendants.

Upon terminating Defendants’ contract, Plaintiffs discovered that Defendant was not a

licensed builder in the state of New Jersey, as previously represented by Defendants.

 

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47. Upon terminating the Defendants contract, Plaintiff contacted the owner of Eagle River
Honies, lnc, the house manufactured and was informed that Defendants had never
forwarded the Plaintiffs’ deposit to Eagle River and had only forwarded $400.00 to Eagle
River for the plans Defendants produced in l\/larch 0f2017.

48. By letter, dated July 10, 2017, Defendants, by way of counsel, explicitly Stated that
Defendant Greenbriar “was, has been and is ready, willing and able to deliver the home
{Plaintiffs] requested,” but would not do so. EXHIBIT C

49. As of this filing date, Plaintiffs remain unable to move into their modular home as
construction never started.

50. As of this filing date, Defendants have not commenced manufacture of the modular
home, as per the Agreement.

51. As of this filing date, Defendants have not delivered a modular home, as per the
Agreement.

52. As of this filing date, Defendants have failed to return any payments made by Plaintiffs to
Defendants towards purchase and delivery of a modular home, as per the Agreement.

53. As of this filing, Defendants have not given any assurance that they intend to honor their
obligations, as per the Agreement.

54. Plaintiffs’ continue to experience financial hami as a result cf Defendants failure to
deliver the Plaintiffs’ modular home.

COUNT I - VIOLATIONS OF PENNSYLVANIA UNFAIR TRADE PRAC'I`ICES AND
CONSUMER PROTECTION LAW

55. All preceding paragraphs of this Complaint are incorporated herein as though fully set.

 

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56. At all times material, Defendants’ are “person(s)” engaged in the trade or commerce as
that tenn is defined by the Pennsylvania Unfair Trade Practices Act and Consumer
Protection Law, 73 P.S. §201-1, et seq. (“UTPCPL”).

57 . Upon information and belief, neither Defendant is registered with the State of New
Jersey, as required, per NJSA 46:3B-l et seq.

5 8. Parties not registered with the State of New Jersey, per NJSA 46:3B-l et seq., are unable
to lawfully obtain permits and/or begin construction of any new home in the State of New
Jersey.

59. Upon information and belief, Defendants have not furnished or assured a qualified
warranty to Plaintiffs that satisfies New Jersey’s New Home Warranty and Builders’
Registration Act. NJSA 46:3B-1et seq.

60. Upon information and belief, relevant state and local codes require professional sealed
and signed plans prior to securing permits and commencement of site development

61. Defendants failed to secure necessary sealed and signed plans prior to having Plaintiffs’
apply for permits

62. Defendants’ aforementioned conduct constitutes an “unfair or deceptive practice” within
the meaning of the UTPCPL.

63. Defendants’ failure to send sealed plans by May 31, 2017 to Plaintiff or related parties
constitutes an “unfair or deceptive practice” within the meaning of the UTPCPL. Id.

64. Defendants’ advertisement of modular homes with intent not to sell them as advertised
constitutes an “unfair or deceptive practice” within the meaning of the UTPCPL. Id.

65. Defendants’ attempt at collecting additional monies from Plaintiffs beyond the deposit

constitutes an “unfair or deceptive practice” within the meaning of the UTPCPL. l'd.

 

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66. The UTPCPL authorizes the Court in its discretion to award up to three (3) times
(“treble”) the actual damages sustained for violations as well as attorneys’ fees, for which
Plaintiff is entitled. 73 P.S. § 201-9.2(a) et seq.

COUNT II - FRAUD/FRAUDULENT MISREPRESENTATION

67. All preceding paragraphs of this Complaint are incorporated herein as though fully set.

68. Defendants’ fraudulent misrepresentations included intentionally misrepresenting to
Plaintiffs that they were at all relevant times lawfully able to deliver and install modular
homes in Woolwich New ler'sey.

69. Additionally, Defendants’ fraudulent misrepresentations include intentionally
misrepresenting to Plaintiffs to the following:

a. That it was reasonably possible Plaintiffs would be able to move into their
modular home by mid-March.

b. That it was reasonably possible the modular home would be completed and ready
for residence prior to the Plaintiffs’ sale and leave of their current residence

c. That Defendants would deliver satisfactory plans within two weeks after
Agreernent.

d. That Defendants are “ready, willing, and able to deliver the home [Plaintiffs]
ordered and requested,” since they have not yet commenced manufacture, nor
tendered payment to manufacturer.

70, The aforementioned representations were material to the transaction, and made by

Defendants With either knowledge of their falsity or recklessness as to whether or not

they were true.

 

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The aforementioned representations were made with the intent of misleading and
inducing the Plaintiffs to rely upon them.
The Plaintiffs reliance on the representations was justified, and their resulting damages
were proximately caused by said reliance on the representations made by Defendants.
As the direct and proximate results of the aforesaid, Plaintiffs sustained the aforesaid
damages (inc_orporated by reference).

COUNT' III- BREACH OF CONTRACT/OUASI -CONTRACT
Plaintiffs incorporate by reference all prior paragraphs as if fully set forth at length
herein.
At all times material, Plaintiffs’ and Defendants were parties to a contract (in the
possession of Defendants), express and/or implied at law, of which Defendants are in
breach, to Plaintiffs’ great personal detriment and injury as aforesaid
On, or about, December 29, 2016, Plaintiffs entered into a contract With Defendant
Greenbriar Marketing & Management, Inc.
Defendants advised Plaintiffs’ that building plans would be delivered within two weeks
from the date that Plaintiffs’ signed the contract and Plaintiffs’ provided Defendants a
deposit in order to allow the land engineer to begin all necessary work.
Per Agreement, the total price of $l39,408.08 included the costs of base price unit, set-
up, optional equipment, sales tax, and various non-taxable items
Per the Agreement, Plaintiffs were responsible for payment of remaining balance, minus
all deposits, UPON COMPLETED PRODUCTION AT FACTORY,
Per the Agreement, an options allowance of $ l 7,300.00 was provided by Defendants to

Plaintiffs.

 

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Per the Agreement, the salesperson responsible for Agreement was Defendant Lawrence
Higgins.
Per the Agreement, delivery to Woolwich Township, NJ was scheduled for mid-l\/larch
2017.
Plaintiffs’ provided Defendants a $28,000.00 deposit
As of this filing date, Plaintiffs remain unable to move into their modular home as
construction never started
As of this filing date, Defendants have not commenced manufacture of the modular
home, as per the Agreement.
As of this filing date, Defendants have not delivered a modular home, as per the
Agreement.
As of this filing date, Defendants have failed to return any payments made by Plaintiffs to
Defendants towards purchase and delivery of a modular horne, as per the Agreement.
At all times material, Defendants owed Plaintiffs’ a duty of utmost fair dealing, to which
said Defendants are in breach to Plaintiffs’ great personal detriment and injury as
aforesaid

C()UNT IV - UNJUST ENRICHMENT
All preceding paragraphs of this Complaint are incorporated herein as though fully set.
Plaintiffs provided Defendant with $28,000.00 as a deposit towards total price of agreed
upon modular home.
Plaintiffs justifiably paid considerable expense to third-parties in anticipation of

construction and delivery of their home.

 

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92. Plaintiffs’ relied, to their detriment, upon Defendants’ promise that it would deliver the
aforesaid modular home within a reasonable time.
93. Defendants have been unjustly enriched because, to date, they have failed to commence
performance, despite Plaintiffs’ satisfaction of payment
WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants, their
agents, servants, workmen and/or employees, individually, jointly and/or severally, for an
amount in excess of $75,000.00, plus interest costs of suit, attorneys’ fees, treble damages,
statutory damages, compensatory damages, and punitive damages, plus other relief which this

Honorable Court deems necessary and just.

 

Respectfully Submitted,
WEISBERG LAW SCHAFKOPF LAW, LLC
BY: /s/ Matthew Weisberg BY: (“‘:_`:§fll-'rxi g`>r, finn
MATTHEW B. WEISBERG, ESQ. GAR¥;'?"SA€HFKOPF, ESQ.

DATED; !2.-/ »“/" DA'ri-:n; g`Z-~//”/"Z

 

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EXHIBIT A

 

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Greenbriar Harketing

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cescniprion oi= miree-iii vein sisz - conditions printed on the other side of this contract are
MAKE net _ ,BEDROOMS agreed to as a part of this agreement, the same as if

lnl h h ' ' printed above the signatures Buyer is purchasing the
T‘TLE NO l g 0 /\l E='R'ALNO- COLO“ above described manufactured home trailer or vehic|e;
AMOUNTOW,NG m WHOM the optional equipment and accessories, the insurance
as described has been voluntary; the Buyer' s trade-iri is
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Btiycr promises that any trade-in which Buyer gives is owned by Bttycr and is tree oi`any" lien or other claim except ;is itt\tctltttt the other side i)t`this contract flat er
promises that ;tit taxes ofc\-ety kind levied against tire trade-in have been t`ul|y paid. lt`anv government agency makes a levy ur claims 3 i¢t\~ tit-ti or dcitt;m¢| ;tq;..'tt'_\-i rim
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required lt`Dealer handles the registration or licensing ot`tlte trade-in, Buyer it ill reimburse Dealer t`oi' the expense on demand or i)c;i|er may add that amount to the
contract as ifhad been originally tncludetl,

3 Rl€.r\PPR.-\lSAL OF 'I`R.~\DE-l.\` [i`Buyer is making tt tradc§r`u and it i.\‘ not tleli`tcrcd to i)caler at the time ol`tlia original appraisal and il`|ater, un tlcli\ ery, it
appears to Dealer that there have been material changes made in furnishings or accessories ur in its general physical conth`tt`oit. l)e:t|er may make a reappraisal Tltis
t.itcr appraisal v'.tluc will then determine the allowance to bc made for the tratlc~iu.

b. F.'\il,l!RE TO C`Ol\lPl.l",`i`E PL-RCHASE if Buyer t`ails or refuses to complete the purchase Dealer may keep that portion of'Buyer`s cash deposit which n 'i||
adequately compensate Dealcr i`or Dc:tlcr`s actual, consequential and incidental damages and all other damages losses cr expenses which dealer incurs because ut`
lluycr`s failure to complete thc purchase it‘Etuycr has not given Dealer a cash dcpostt. or the deposit is inadequate but Btiycr has given Deaier a trade iri. l)cslcr tnu_t'
sc|| the trade in tit public or private sale and apply money received from such sale to Dealcr`s lossesl Rctenti`on ot`a cash deposit or application nf`salus proceeds shall
be in addition to and(yt to the exclusion ofany other legal rights and remedies Dealet' may have if Dealcrpre\-'ai[s in troy legal action against Btiyer to collect money
due under this contract, Buyer agrees to reimburse Dca|er for its reasonable :uturncy`s iccs_ costs and expenses in prosecuting or defending against any such legal
actiou, to be no less than 2{)‘."& ol`unpa:`d balance recovered or the actual attorney expenses incurred whatever is grourer.

?. CHANGES BY MANUFACTURF.R Btiyer understands that the manufacturer may make changes in the model or designs orttny accessories and parts front time
to lime_. if`the manufacturer docs make changes neither Dcaler nor thc manufacturer arc obligated to make |he same changes in the unit Bt:ycr is purchasing and
covered by this ordcr` either be lore or ttt`tcr it is delivered to Btiycr.

8. DEL.-\'r'$ iiuyer witt not hold Dcu.!cr liable for delays caused by the manul`:icturer, accidents strikes__ tires or any other cause beyond the Dea|er`s conu'ol. Til\.ilE iS
\OT MADF.` OF `l`HE ESSENCE IN THE DELIV`E|{Y OF THE UN!T l.iNLE§b` OTHERW]SE SPEC`iFlED iN YHIS (`.`f`)NTR.-XCT r\ND."OR r\GREl§D l`l l B\"

DF,A LER iN WRITENG. Dealer is not responsible for any delays associated with financing pertaining or any activity performed by any third party_ whether oi not that
activity is related to this Contract. `

L). INSPECTION Buy'cr has examined the product and finds it suitable Fut' Bu_ver’s particular necds. Buycr has relied upon Buycr's otvujtttlgmcnt and inspection in
determining that it is ot`acceptable quality On the special tinitordered, Btryer has relied on Buycr's inspection oi`dt'spiay ntodcl(s_), the brochures and bulletins and/or
lloor plan provided to Dealer by the Mantifai:turcr, in making Buyer`s decision to purchase the unit described on the reverse side oi`thus agreetncnt.

ll'). \\"ARRANTIES AND F.`XCLUS[ONS BUYER UNDERSTANDS TH.-'\'F THERE ARE NO EXPRESSE[) OR lMPLlEl') W.‘\RR.'\NTlES MADF Pl\*` DE,-'\LF:R
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PlERPOSE AND 'l'lTLE IMPLIED Wr'\RRANT‘r' OF llABlTABlL|'l"t' r\Rl-`, EXC`LUDED FROM THlS TRANSACTlON.

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transaction a separate notice will be provided to you by Dca]er at the time ofthe signing ofthe Contract. IfBuyer is nothing amy claims against Dealeroutsitl_e ninety
applicable dispute resolution program or it`that program is not applicabii: to this transaction the Buyer must notify Deuier itt writing any claimed Contract deficiencies
ttnd:'or ('fontract breaches whether known by Buycr or trott within one l | `i year Frottt the date oi` delivery o{`Lhe unii. Any claim made by Bu_t-er against Deztlcr arising
out ol`this (_`ontract is not valid unless notification ot`stich claim has been made to Dcaicr by Btiycr as required b_v this provision Btiycr must exhaust all dt~pute _
resolution procedures and warranty claims and remedies prior to any legal action against Dcult:r \vi`th proof`oi`thc t"tn:tl processing oi`thosc remedies prior to initiating

 

 

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any legal action hereunder . `

ll INSURANCE Bi.tyer understands that Buyer is p_o_t covered by insurance on the unit purchased until accepted by an insurance cotnpany, and Btiycr agrees to
hold i)ealerharmless from any and all claims due to loss and damage prior to acceptance ut`insurance coverage by_att iitsnrance.comptmy. l §

|3. CDNTROLLING LAW AND PLACE OF SUl't` Jurisdt`ctt`ou over interpretation antt"orcnt`orcctnent ofthts contract rs m Lcltzgh Counry\ Pcnnsyivania only.

t\"o legal proceedings shall be filed in any other county or any other state without Dealcr’s express prior written prior consent Buyer agrees to reimburse Dcaler for all
costs associated with transferring venue to Lehigh County, Pcnnsylvaui`a, in thc event any suit rs filed in an tmpropcr torum or venuc.

14. iF PAR']` iNV.~\L{D REST OF CONTRACT SAVED Deatcr and Bu_vcr agree that each portion ot this contract is independent and ii'an_v paragraph or
provision violates the law and is unenforceable the rest of the contract will bc tla|id. ` _
l."t. DELWE RY AND PLACEMENT Dclivery ot`tltc unit is included in the purchase price unless otherwise indicated Dc:a|ler`s agreement to transport the uint
purchased is based upon Buycr`s assurance that travel will be along acceptable all-ncalher surfaced roads. fully open and accessible-from potnt oiongtn to iliiyer s n
Point ofdclivi:t'y. Buyer assumes all responsibility for PrcPer Prcparation oi”Bttl/cr`s property to both receive and |octue_the unit purchased it Dealer must hire etftre
labor and.t‘or equipment to deliver and/or to locate the unit because ot`st`te conditions Bu_ver shall assume responsibrli:_t- mr all additional costs upon presentation o a .
eller shall not be responsible to perform any additional or remaming contract work until all additional costs_ari.’ putd. B_u}r c'r

bill by Dealer for its additional costs De .' ' _ ‘_ k-
assurnes all responsibility for providing a code approved foundation upon which the horne ts to be set unless Dcaler has agreed to perform foundation silewor as

specified in this contractor an addendum heretc. Buyer agrees that the sewer musrbc stabbed out ofthc ground; the water line mustbe capped: and the elec-inc line

must be connected to a meter pole with a proper receptacle within 20 i`eet ot`thc electric box tnside oi”thc home

!a. C’J.‘.‘!‘;’"”'"""‘" “ER?'IITS .ar‘\`i`r CHA;`€GES Btiycr understatth that i)e:iit:r is not permitted to make plumbing or e
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EXHIBIT B

 

 

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EXHIBIT C

 

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MALKAMES LAW OFFIGES
509 L:NDEN STREET

ALLENTOWN, PA. sami-1415

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MAHK MALKAMES Fl\x (6£0§ BQR~EBB!
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july 10, 2017

lay and luniata Griscorn

150 Oliphants iviili Road

Woolwich Townshlp, Nl 08085

By email:_riuanitae,riscom@_vah_oo.corn

Dear ivir. 81 Mrs. Griscom:

l represent Greenbriar Niarketing & Management lnc. which has contacted me
concerning your email of lVlay 26, 2017. Greenbriar has asked me to reply in its behalf

l draw your attention to your contract with Greenbriar lVlarl<eting 81 N|anagement dated
December 29, 2012. P|ease note that your contract in bold letters on the front of the contract
provides: “TH|S CONTRACT CONTAENS NO PROVlS|ON FOR REFUND OF THE DOWN PAYMENT lN
THE EVENT THAT `HHE BUYER FA|LS TO COi\/IPLY WlTl-l lTS TERMS AND COND|TEONS”. P|ease
also note Paragrap_h 6 of the Contract. If a Buyer fails or refuses to complete the purchase,
Dea|er may keep that portion of the cash deposit which Wi|l adequately compensate Dealer for
Dealer’s consequential and incidental damages and all other damages, losses or expenses that
Dealer incurs because of the Buyer's failure to complete the purchasel

Greenbriar takes exception to your statement that ”Time was of the essence at the
onset of the pian”. Time was not made of the essence unless specified in the contract (see

Paragraph 8}.

Further, notw|thstanding the above, Greenbriar especially takes exception to your
statement that ”due to time restraints and way past the timing of what (you) needed and
requested on December 28” that Greenbriar is responsible for the failure of this transaction to
complete Greenbriar was, has been and is ready, willing and able to deliver the home you
ordered and requested Greenbriar has asked me to refresh your recollection regarding events

after you executed the contract as loi|ows:

 

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a. Beginning in lanuary of 2017 you called Greenl:)riar requesting a delay of
your order due to the concerns about the strength of your contract with your home buyer for
your existing horne. That delay lasted two weeks.

b. 1 On January 18, 2017 you made changes to the utility room.

c. -‘ Greenbriar provided email changes to you on February 7, 2017;
Greenbriar did a site inspection and again went over the home with you on February 8, 2017.

d. You made utility room changes on February 16, 2017.

e. On February 17, 2017 you began to look at a l\/Iulberry lot model
questioning cost for that different horne.

f. On February 22, 2017 and February 23, 2017 you were requested to sign
prints so that Gree_nbriar can order your home. Changes were made to the prints on February
23,2017.

g. f On Fel:)ruary 23, 2017 you contacted Greenbriar's President l.awrence
Higgins requesting an additional delay in your order because the buyers of your horne,
according to you, were challenging you on the state of your septic system You advised that
you were in negotiations with your buyer (this delay lasted another approximate 2 weeks).

h. On February 24, 2017 the prints were again revised with changes
i. On February 27, 2017 you stated additional home/site work questions

j. 1 Emaiis were received from your engineer on March 1, 2017.

l<. On i\/larch 1, 2017 drawings came in with more changes (after 5 p.m.),'
drawings were sent back to you on March 2, 2017 and Greenbriar addressed more questions

l. On l\/|arch 5, 2017 sealed plans were ordered (at Greenbriar's significant
cost) because Gre?enbriar received an email stating you would cancel if you did not have
revised prints. The factory promised the revised prints by l\/|arch 16, 2017.

m. On March 16, 2017 you questioned whether changes to the drawings
would affect the sealed printed On Nlarch 27, 2017 you questioned when plans were ordered
and were provided with the check stub and a copy of the emai| as proof of the ordering of the

plans.

n.. 1 On March 28, 2017 you gave Greenbriar a deadline to receive the plans
by Nlarch 31, 2017.

o. ' On Marcl'\ 31, 2017 the prints were received from the factory unsealed
and forwarded to your engineer and to you.

 

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p. On April 5, 2017 the plans were sent ifront elevation incorrect). Vou
advised that you could not download the prints (even though your engineer and Greenbriar
were able to downioad those prints). The prints were printed and scanned and resent to you
on Aprii 6, 2017.

q. On Aprll 8, 2017 you had more questions On Aprii 10, 2017 you
requested window changes in the kitchens. On the same date, you advised that you liked the
window but did not like the lost cabinets. Vou advised you wanted a transom over the picture

window.

r. On Apri| 11, 2017 you added you added lights in the kitchen. On that
day, sealed prints were again sent to you and the engineer.

s. On Apri| 12, 2017 you were sent specifications on the appliances
changing to a microwave/wall oven and cooktop. The cabinets had to be changed

t. ' On April 25, 2017 you requested an on-site range hood. Vou questioned
the width of the opening for the range hood desiring 36" when the opening was only 30”.

u. On April 25, 2017 you were requested to review the plans so that
Greenbriar could order the home as soon as your received your permits (you Were/are
responsible under the contract for your permits see Paragraph 16).

v. On Apri| 28, 2017 the factory advised that they could change your range
hood to 36" opening but that there would be voids and additional spaces in the cabinets. You
decided to stay With the 30" opening.

w. On April 28, 2017 your raised questions on the knobs and faucets and you
received a response on l\/lay 1, 2017. You advised that you wanted the plans to again be
revised to reflect these changes

x. . - Ori |viay 12, 2017 Greenbriar spoke with your contractor. You finally
signed a confirmation to order on |Viay 12, 2017 (with more changes). A change order was

executed on iViay 12, 2017.

Greenbriar is extremely disappointed to receive your letter not just purporting to cancel
the order, but trying to shift blame for delay to Greenbriar. Greenbriar has been ready willing
and able to perform and could not and would not do so given your constantly changing desires.
Greenbriar is not being critical notwithstanding its frustration in addressing your changing
requests; obviously, however, the reasons for any delay are not attributable to Greenbriar
somehow dragging its feet on your transaction l trust you can also see from the above
chronology (a|| of which is documented in Greenbriar’s file and eisewhere) that Greenbriar in

 

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fact was very responsive to your changing requests There is nothing more that Greenbriar
would have liked to accomplish than to bring your transaction to completion.

Equa|iy disappointing is that Greenbriar understands that you purchased a home from a
competitor. We believe this is in fact is the reason why you now wish to cancel the transaction-
This is certainly disappointing given Greenbrlar's attempts to make you a satisfied customer.

Greenbriariwouid be willing to consider releasing you from further liability on your
contract provided 1a l\/lutuai Release is executed and no further work is required

Feel free to contact me or to have your attorney contact rne at his or her convenience-

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M_ar_l_t`ivialka`rn:§, Esquire

iviivl/sd '
Cc: Greenbriar l\/|arking and ivlanagement

THiS l_ETTER IS FROM A DEBT COLLECTOR. UNLES$ YOU NOTiFY TH|S OFF|CE W|THiN
30 DAYS AFTER RECEi\/|NG THlS NOT|CE THAT YOU DISPUTE THE VAL|DFTY OF TH|S
DEBT OR ANY PORTION THEREOF, THiS OFF|CE WlLL ASSUME Tl~llS DEBT IS VAi_lD. lF
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